Case 1:15-cv-01494-LMB-IDD Document 136 Filed 07/05/16 Page 1 of 11 PageID# 2183



                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


      TIM P. BRUNDLE, on behalf of the
      Constellis Employee Stock Ownership
      Plan,

           Plaintiff,
                                            Civil Action No. 1:15cv1494-LMB-IDD
      v.

      WILMINGTON TRUST, N.A., as
      successor to WILMINGTON TRUST
      RETIREMENT AND INSTITUTIONAL
      SERVICES COMPANY,

           Defendant.


                               THIRD AMENDED COMPLAINT
Case 1:15-cv-01494-LMB-IDD Document 136 Filed 07/05/16 Page 2 of 11 PageID# 2184




         Plaintiff Tim P. Brundle, by his undersigned attorneys, on behalf of the Constellis

  Employee Stock Ownership Plan (“ESOP”), alleges upon personal knowledge, the investigation

  of his counsel, and upon information and belief as to all other matters, as to which allegations he

  believes substantial evidentiary support will exist after a reasonable opportunity for further

  investigation and discovery, as follows:

                                          BACKGROUND

         1.      Plaintiff Tim P. Brundle sues Wilmington Trust, N.A. (“Wilmington”) under the

  Employee Retirement Income Security Act of 1974, as amended (“ERISA”), for losses suffered

  by the ESOP and other relief under ERISA §§ 409 and 502(a)(2), 29 U.S.C. §§ 1109 and

  1132(a)(2), caused by Wilmington, which was the Trustee for the ESOP when the ESOP

  acquired shares of Constellis Group, Inc. (“Constellis”) in 2013.

         2.      Plaintiff participated in the ESOP and vested in the Constellis stock held in his

  account in the ESOP.

         3.      The ESOP was established by Constellis in 2013.

         4.      The ESOP is a retirement plan governed by ERISA.

         5.      The ESOP was administered at 12018 Sunrise Valley Drive Ste. 140, Reston,

  Virginia 20191.

         6.      Constellis is headquartered at 12018 Sunrise Valley Drive Ste. 140, Reston,

  Virginia 20191.

         7.      Constellis bills itself as global provider of security, training and mission support

  services.

         8.      Constellis hired Wilmington to be the Trustee for the ESOP.


                                                   1
Case 1:15-cv-01494-LMB-IDD Document 136 Filed 07/05/16 Page 3 of 11 PageID# 2185




          9.       As Trustee for the ESOP, it was Wilmington’s exclusive duty to ensure that any

  transactions between the ESOP, Constellis and Constellis shareholders, including loans to the

  ESOP and acquisitions of Constellis stock by the ESOP, were fair and reasonable and to ensure

  that the ESOP paid no more than fair market value.

          10.      The ESOP purchased its shares of Constellis common stock from the four S-

  Corporation shareholders of Constellis or their trusts (“Sellers”).

          11.      The Sellers are parties in interest under ERISA § 3(14), 29 U.S.C. § 1002(14),

  because they were officers, directors, or employees of Constellis and/or owned 10% or more of

  Constellis.

          12.      On December 19, 2013, Wilmington caused the ESOP to purchase all the

  common stock of Constellis, 47,586.54847 shares, from the Sellers for $201,529,033 (the “ESOP

  Transaction”).

          13.      The ESOP paid $4,235 per share for the Constellis stock.

          14.      Wilmington caused the ESOP to take a loan from the Sellers in the amount of

  $152,335,331 to complete the purchase Constellis stock from the Sellers.

          15.      Constellis guaranteed the ESOP’s debt to the four S-Corporation shareholders.

          16.      On July 25, 2014, Constellis was acquired by Constellis Holdings, Inc.

  (“Constellis Holdings”) for $20 million in cash to the ESOP plus the assumption of debt due to

  the original Sellers.

          17.      The Sellers had originally received a note for $152,335,331 as part of the

  consideration for their sale to the ESOP. This note was reduced to $99,685,124. Thus Constellis




                                                    2
Case 1:15-cv-01494-LMB-IDD Document 136 Filed 07/05/16 Page 4 of 11 PageID# 2186




  Holdings paid significantly less for the company, approximately 40% less, than what the ESOP

  had paid just seven months earlier.

           18.   In 2014, Constellis or Constellis Holdings terminated its ESOP.

           19.   Participants in the ESOP were not allowed to vote on the acquisition of Constellis

  by Constellis Holdings because Constellis and/or the Sellers conferred all the voting rights on

  Wilmington.

           20.   The Internal Revenue Service never issued a determination letter saying the ESOP

  was qualified under the Internal Revenue Code as an employee benefit plan.

           21.   The massive decline in the value of Constellis in just seven months cannot

  plausibly be explained by anything other than a deficient valuation of Constellis on behalf of the

  ESOP as part of the ESOP Transaction.

           22.   Constellis stock underperformed similarly-sized U.S. companies during the period

  2013-2014. For example, from July 1, 2013 through June 30, 2014, the iShares Micro-Cap ETF,

  a fund that tracks the Russell 2000, an index of 2,000 U.S. companies with comparable market

  capitalizations (the median and average market capitalizations are respectively, $464 million and

  $229 million) 1 to Constellis gained approximately 23%. Constellis, however, dropped 40% in

  value.

           23.   Constellis underperformed companies involved in defense, homeland security,

  and space during this same period. The PowerShares Aerospace & Defense Portfolio, a fund



  1
    The composition of this index as of May 29, 2015 can be found at
  https://www.russell.com/indexes/emea/tools-resources/reconstitution/market-capitalization-
  ranges.page.

                                                  3
Case 1:15-cv-01494-LMB-IDD Document 136 Filed 07/05/16 Page 5 of 11 PageID# 2187




  based on the SPADE Defense Index, gained just over 30% from July 1, 2013, through June 30,

  2014. Constellis, however, dropped 40% in value.

         24.     In the years preceding the ESOP Transaction The McLean Group had consistently

  valued Constellis at 30-40% less than the price Wilmington caused the ESOP to pay for

  Constellis.

         25.     Wilmington failed to properly consider prior valuations and the significance of

  the single contract when valuing Constellis for the ESOP Transaction.

         26.     The true value of Constellis on December 19, 2013 was closer to the $120 million

  paid for the company in July 2014 pursuant to an arm’s length transaction.

         27.     An arm’s length transaction just over seven months after the December 19, 2013

  ESOP Transaction is more indicative of the true value of Constellis on December 19, 2013 than a

  valuation performed under the supervision and direction of the Sellers’ handpicked trustee.

         28.     Plaintiff is not aware of any material change in circumstances to Constellis

  between December 19, 2013 and July 2014, when it was acquired.

         29.     Wilmington did not provide any information to participants in the ESOP,

  including Plaintiff, to explain the massive decline in the value of Constellis.

                                   JURISDICTION AND VENUE

         30.     This action arises under Title I of ERISA, 29 U.S.C. §§ 1001 et seq., and is

  brought by Plaintiff under ERISA § 502(a), 29 U.S.C. § 1132(a), to enjoin acts and practices that

  violate the provisions of Title I of ERISA, to require Wilmington to make good to the ESOP

  losses resulting from its violations of ERISA, to restore to the ESOP any profits and fees made




                                                    4
Case 1:15-cv-01494-LMB-IDD Document 136 Filed 07/05/16 Page 6 of 11 PageID# 2188




  and received by Wilmington, and to obtain other appropriate equitable and legal remedies in

  order to redress violations and enforce the provisions of Title I of ERISA.

          31.    This Court has subject matter jurisdiction over this action pursuant to ERISA

  § 502(e)(1), 29 U.S.C. § 1132(e)(1).

          32.    Venue is proper in this District pursuant to ERISA § 502(e)(2), 29 U.S.C.

  § 1132(e)(2), because some or all of the events or omissions giving rise to the claims occurred in

  this District, the ESOP was administered in this District, and Constellis is headquartered in this

  District.

                                              PARTIES

          33.    Plaintiff Tim P. Brundle participated in the ESOP and vested in Constellis

  common stock shares in his account in the ESOP. Brundle is a resident of McAllen, Texas.

          34.    Defendant Wilmington Trust, N.A. (“Wilmington”) is a trust company chartered

  in Delaware. Its main office is at 1100 North Market Street, Wilmington, Delaware 19890.

  Wilmington is a wholly-owned subsidiary of Wilmington Trust Corporation (“Wilmington

  Trust”), which is also headquartered at 1100 North Market Street, Wilmington, Delaware 19890.

  Wilmington Trust is a wholly-owned division of M&T Bank Corporation (“M&T”). M&T is

  headquartered in Buffalo, New York.




                                                   5
Case 1:15-cv-01494-LMB-IDD Document 136 Filed 07/05/16 Page 7 of 11 PageID# 2189




                                        CLAIMS FOR RELIEF

                                        COUNT ONE
             Engaging in Prohibited Transactions Forbidden by ERISA § 406(a)-(b),
                                    29 U.S.C. § 1106(a)-(b)

          35.     Plaintiff incorporates the preceding paragraphs as though set forth herein.

          36.     Constellis was a party in interest to the ESOP because it is the employer whose

  employees are covered by the ESOP. ERISA § 3(14)(C), 29 U.S.C. § 1002(14)(C).

          37.     The Sellers were parties in interest to the ESOP because they were employees,

  officers, directors, and/or 10 percent or more shareholders of Constellis. ERISA § 3(14)(H),

  29 U.S.C. § 1002(14)(H).

          38.     Wilmington was a fiduciary for the ESOP because it was the Trustee responsible

  for deciding on behalf of the ESOP whether to engage in the ESOP Transaction, the price to pay

  for Constellis stock, and the terms of the Sellers’ note to the ESOP.

          39.     ERISA § 406(a)(1)(B), 29 U.S.C. § 1106(a)(1)(B), prohibits a plan fiduciary, here

  Wilmington, from causing the plan, here the ESOP, to borrow money from a party in interest,

  here the Sellers. ERISA § 406(a)(1)(A), 29 U.S.C. § 1106(a)(1)(A), prohibits Wilmington from

  causing a plan, here the ESOP, from engaging in a sale or exchange of any property, here

  Constellis stock, with a party in interest, here the Sellers.

          40.     ERISA § 406(b)(2) and (3), 29 U.S.C. § 1106(b)(2) and (3), provide that a

  fiduciary for a plan shall not—

                    (2) in his individual or in any other capacity act in any transaction involving the
                    plan on behalf of a party (or represent a party) whose interests are adverse to
                    the interests of the plan or the interests of its participants or beneficiaries, or




                                                     6
Case 1:15-cv-01494-LMB-IDD Document 136 Filed 07/05/16 Page 8 of 11 PageID# 2190




                    (3) receive any consideration for his own personal account from any party
                    dealing with such plan in connection with a transaction involving the assets of
                    the plan.

         41.     In violation of ERISA § 406(b)(2), 29 U.S.C. § 1106(b)(2), in approving the

  ESOP Transaction, Wilmington acted for the benefit of the Sellers in a transaction in which the

  Sellers were adverse to the ESOP, by approving a purchase price for Constellis stock that vastly

  exceeded its value, which greatly benefited the Sellers at the expense of the ESOP.

         42.     In violation of ERISA § 406(b)(3), 29 U.S.C. § 1106(b)(3), in the course of the

  ESOP Transaction, Wilmington received payment from Constellis and/or the Sellers for serving

  as the Trustee on behalf of the ESOP with respect to the ESOP Transaction.

         43.     The loan and Constellis stock transactions between the ESOP and parties in

  interest, namely the Sellers, were prohibited transactions.

         44.     The loan and Constellis stock transactions between the ESOP and parties in

  interest were caused by Wilmington in its capacity as trustee for the ESOP.

         45.     ERISA § 502(a)(2), 29 U.S.C. § 1132(a)(2), permits a plan participant to bring a

  suit for the relief under ERISA § 409, 29 U.S.C. § 1109.

         46.     ERISA § 409, 29 U.S.C. § 1109, provides, inter alia, that any person who is a

  fiduciary with respect to a plan and who breaches any of the responsibilities, obligations, or

  duties imposed on fiduciaries by Title I of ERISA shall be personally liable to make good to the

  plan any losses to the plan resulting from each such breach, and additionally is subject to such

  other equitable or remedial relief as the court may deem appropriate, including removal of the

  fiduciary.




                                                   7
Case 1:15-cv-01494-LMB-IDD Document 136 Filed 07/05/16 Page 9 of 11 PageID# 2191




         47.     Wilmington caused approximately $81 million in losses to the ESOP by the

  prohibited transactions in an amount to be proven more specifically at trial.

                                      PRAYER FOR RELIEF

         Wherefore, Plaintiff prays for judgment against Defendant and for the following relief:

         A.      Declare that Wilmington caused the ESOP to engage in prohibited transactions;

         B.      Enjoin Wilmington from further violations of ERISA and its fiduciary duties;

         C.      Order Wilmington to adopt policies and procedures with respect to serving as

                 trustee in connection with ESOP valuations consistent with the Department of

                 Labor’s settlement with GreatBanc Trust Company, available at

                 http://www.dol.gov/ebsa/pdf/esopagreement.pdf;

         D.      Order that Wilmington make good to the ESOP and/or to any successor trust(s)

                 the losses resulting from its breaches and restore any profits it has made through

                 use of assets of the ESOP;

         E.      Order that Wilmington provide other appropriate equitable relief to the ESOP,

                 including but not limited to surcharge, providing an accounting for profits, and

                 imposing a constructive trust and/or equitable lien on any funds wrongfully held

                 by Wilmington;

         F.      Award Plaintiff reasonable attorneys’ fees and costs of suit incurred herein

                 pursuant to ERISA § 502(g), 29 U.S.C. § 1132(g), and/or for the benefit obtained

                 for the common fund;

         G.      Order Wilmington to disgorge any fees it received in conjunction with its services

                 as Trustee for the ESOP as well as earnings and profits thereon;


                                                   8
Case 1:15-cv-01494-LMB-IDD Document 136 Filed 07/05/16 Page 10 of 11 PageID# 2192




         H.     Order Wilmington to pay prejudgment interest;

         I.     Order Wilmington to distribute all assets, including proceeds from the sale of

                Constellis stock and losses and other monies recovered by this lawsuit, held by

                the ESOP or any successor trust to plan participants and beneficiaries; and

         J.     Award such other and further relief as the Court deems equitable and just.


  Dated: July 5, 2016                Respectfully submitted,

                                     BAILEY & GLASSER LLP

                                     s/ Gregory Y. Porter
                                     Gregory Y. Porter (VSB No. 40408)
                                     Ryan T. Jenny (pro hac vice)
                                     1054 31st Street, NW
                                     Suite 230
                                     Washington, DC 20007
                                     Telephone: (202) 463-2101
                                     Facsimile: (202) 463-2103
                                     gporter@baileyglasser.com
                                     rjenny@baileyglasser.com

                                     Thanos Basdekis, Esq. (VSB No. 50913)
                                     209 Capitol Street
                                     Charleston, WV 25301
                                     Telephone: (304) 345-6555
                                     Fax: (304) 342-1110
                                     tbasdekis@baileyglasser.com

                                     Attorneys for Plaintiff




                                                 9
Case 1:15-cv-01494-LMB-IDD Document 136 Filed 07/05/16 Page 11 of 11 PageID# 2193




                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 5th day of July 2016, a copy of the foregoing was

  electronically filed with the Clerk of Court using the CM/ECF system, which will send such

  notification to the following:

         James P. McElligott, Jr.
         Sarah Aiman Belger
         Summer L. Speight
         McGUIREWOODS LLP
         1750 Tysons Boulevard, Suite 1800
         Tysons Corner, Virginia 22102-4215
         Telephone: (703) 712-5350
         Facsimile: (703) 712-5299
         jmcelligott@mcguirewoods.com
         sbelger@mcguirewoods.com
         sspeight@mcguirewoods.com
         Counsel for Defendant


                                                      s/ Gregory Y. Porter
                                                      Gregory Y. Porter (VSB No. 40408)
                                                      BAILEY & GLASSER LLP
                                                      1054 31st Street, NW
                                                      Suite 230
                                                      Washington, DC 20007
                                                      Telephone: (202) 463-2101
                                                      Facsimile: (202) 463-2103
                                                      gporter@baileyglasser.com
                                                      Attorneys for Plaintiff
